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                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF MINNESOTA


 BOB CAJUNE; CYNTHIA CAJUNE;                                               Court File No. 21-CV-1812-ADM-BRT
 KALYNN KAY AAKER; LION 194;
 JOHN DOE #1; MARY ROE # 1-7; N.W.,
 a minor, by KALYNN KAY AAKER.

           Plaintiffs,                                                   PLAINTIFFS’ MEMORANDUM OF
                                                                             LAW IN OPPOSITION TO
                 v.                                                        DEFENDANTS’ MOTION FOR
                                                                         JUDGMENT ON THE PLEADINGS
 INDEPENDENT SCHOOL DISTRICT                                             AND IN SUPPORT OF PLAINTIFFS’
 194 and MICHAEL BAUMANN in his                                           MOTION FOR A PRELIMINARY
 official capacity as Superintendent of                                           INJUNCTION
 Independent School District 194,

           Defendants.


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                                                INTRODUCTION

       In April 2021, Defendant Lakeville Independent School District 194 (“ISD 194” or

the “District”) created a so-called “ Poster Series” which included two posters with the

political slogan, “Black Lives Matter.” The two posters also state: “At Lakeville Area

Schools we believe Black Lives Matter and stand with the social justice movement this



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statement represents. This poster is aligned to School Board policy and an unwavering

commitment to our Black students, staff and community members.” (emphasis added).

       When other ISD 194 taxpayers and District residents, such as Bob Cajune, asked

that alternative ideological viewpoints be presented alongside the Black Lives Matter

posters, such as “Blue Lives Matter” or “All Lives Matter,” ISD 194 refused to allow these

rival viewpoints, stating “[ISD 194] does not approve of All Lives Matter or Blue Lives

Matter posters in the classrooms or other areas of the school, and teachers/school staff are

not allowed to wear shirts with these sayings to school;” and “the All Lives Matter and

Blue Lives Matter mottos were created specifically in opposition to Black Lives Matter”

and that those messages “effectively discount the struggle the Black students have faced in

our school buildings and that Black individuals face in our society as a whole.”

       Plaintiffs have no problem with a “commitment to…Black students, staff and

community members.” It is a laudable thing to be committed to the well-being of all people.

But Plaintiffs object to that supposed commitment being presented in the form of a divisive

political message that is exclusive, not inclusive, and aligns the District with a racist, neo-

Marxist, Black-separatist organization, which also calls for the destruction of the nuclear

family. While ISD 194 claims allegiance only to the literal words, “Black Lives Matter,”

that claimed allegiance melts in the face of the District’s refusal to allow the competing

mantra that “all lives,” which includes “black lives,” matter.

       The link between the phrase, “Black Lives Matter” and the political movement are

inextricably intertwined in the minds of the public. Nine-year-old students understand this.




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Plaintiff N.W., a nine-year-old former1 student of ISD 194 who stated in ISD 194’s June

8, 2021 board meeting: “We all know changing the font or the color of posters does not

change the meaning. I am 9 years old, and I know that. You expect me to believe that you

did not know what you were doing by making these posters? Come on, people.”2

       N.W. also stated at that Board meeting that “I do not judge people by the color of

their skin, I don’t really care what color their hair, skin, or eyes is. I judge by the way they

treat me….I do not care or look at the color of skin, but you make me think of it. I have

Asian, Mexican, white, Chinese, black friends and I don’t care. I like them because some

of them make me laugh, some are sweet and kind, sporty, or share the love of God. They

are just my friends. You have lied to me and I am very disappointed in all of you.”

(emphasis added).

       Not only does the Poster Series make the halls of ISD 194 hostile to students like

N.W., ISD 194 has also admitted to Plaintiffs that the posters are private political

expression provided by some members of the community. The District has stated: “the

inclusive posters were requested by many staff and families in our school communities and




1
  Plaintiffs’ counsel was unaware that N.W. had left the District after the Complaint was
filed. Aff. of Gregory J. Joseph, Nov. 23, 2021. The first the undersigned heard of this was
through ISD 194’s affidavit to that effect. Id. Had Plaintiffs’ counsel been informed before
ISD 194 filed its affidavit—on a Rule 12 motion—Plaintiffs would have sought leave to
amend. Id. Now, Plaintiffs are compelled to respond to that affidavit, and they do so with
Plaintiff Kalynn Aaker’s affidavit. Aff. of Kaylnn Aaker, Nov. 22, 2021. Ms. Aaker,
N.W.’s mother, also has four other children in the District and is a member of the LION
194 association.
2
   https://www.washingtonexaminer.com/news/viral-video-minnestota-black-lives-matter-
posters-schools (last visited Nov. 23, 2021).

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was a project included within the district’s inclusion work this school year,” and they were

“fully supported by our Board of Education”—not created by it. By posting the messages

of the Poster Series in ISD 194’s hallways, ISD 194 approves of and allows the private

expression of District taxpayers, students, and staff who support the political ideology of

the “Black Lives Matter” movement and organization. At the same time, ISD 194

suppresses divergent viewpoints, such as Plaintiffs’.

        ISD 194’s viewpoint discrimination has been confirmed by its collaboration with

certain individuals from ISD 194 and outside the District for a Fall 2021 event called

“Different Places, Beautiful Faces,” which ISD 194’s Equity Coordinator told Cynthia

Cajune was to “highlight the diversity of our community, as well as to celebrate People of

Color and Indigenous people in Lakeville and its surrounding communities.” But when Ms.

Cajune, a non-White individual, sought to include all ethnic backgrounds in the event,

those controlling the event declared that “our interests are not aligned” and signed off with,

“Black Lives Matter.” ISD 194 has also instructed children as young as fifth grade that

structural racism dominates our society and that Black Lives Matter is a political

movement.

        ISD 194’s viewpoint discrimination violates the First Amendment and creates a

hostile educational environment for its students, like Kalynn Aaker’s children. Plaintiffs

seek an end to this discriminatory practice, and the Court should end it here and grant

Plaintiffs’ motion for a preliminary injunction.

                                          FACTS
   I.      The Poster Series.


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       On September 22, 2020, Superintendent Michael Baumann issued a memo to ISD

194 educators in which he interpreted ISD 194 Policy 535 to prohibit teachers from

displaying in their classrooms posters containing the phrase “Black Lives Matter.” Compl.

¶19. Despite this contrary policy, in April 2021, ISD 194 approved an “ Poster Series” that

consisted of eight distinct posters, two of which included the phrase “Black Lives Matter.”

These “Black Lives Matter” posters also included the statement: “At Lakeville Area

Schools we believe Black Lives Matter and stand with the social justice movement this

statement represents. This poster is aligned to School Board policy and an unwavering

commitment to our Black students, staff and community members.” (emphasis added).

Compl. ¶20.

       On April 13, 2021, during the Equity Update portion of the ISD 194 Board Regular

Meeting, the purpose of the Poster Series was given as “to support staff in creating school

communities where students are respected, valued and welcome.” Compl. ¶23. On April

26, 2021, Plaintiff Bob Cajune sent an email to Lydia Lindsoe, Equity Coordinator for ISD

194, inquiring about the Poster Series program and whether posters displaying “All Lives

Matter” and “Blue Lives Matter” could be displayed by students and/or teachers in School

District 194 schools. Compl. ¶24. That same day, on April 26, 2021, Lydia Lindsoe replied

in email, stating, pertinently:

   • “[ISD 194] does not approve of All Lives Matter or Blue Lives Matter posters in the
     classrooms or other areas of the school, and teachers/school staff are not allowed to
     wear shirts with these sayings to school;”
   • the “purpose of the Poster Series is to create unity and ensure a sense of belonging
     for every student by affirming a wide variety of student identities;”


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   • “the inclusive posters were requested by many staff and families in our school
     communities and was a project included within the district’s inclusion work this
     school year,” and was “fully supported by our Board of Education” (emphasis
     added);
   • “the All Lives Matter and Blue Lives Matter mottos were created specifically in
     opposition to Black Lives Matter” and that those messages “effectively discount the
     struggle the Black students have faced in our school buildings and that Black
     individuals face in our society as a whole;”
   • “the history of Black people in America is singular and needs to be acknowledged;”
   • “it is important that we specifically affirm Black students in our schools;” and
   • because “Black people experience [“violence, racism, and oppression”] at the
     highest rate” and “[n]o other group was ever categorized as property or chattel, and
     the historical consequences of that experience are real and continue to be felt today,”
     ISD 194 “does not approve All Lives Matter posters or Blue Lives Matter posters
     in classrooms.”

Compl. ¶25.

       According to public reports, “The district said the poster series went through a

review process with focus groups that included students, school staff, school building

leaders, the School Board, community advisory groups and others.” Compl. ¶26. Based on

ISD 194’s statement on the Black Lives Matter posters themselves (quoted herein), and

Defendants’ response to Plaintiff Cajune, Defendants’ inclusion of these posters is intended

to promote the political organization Black Lives Matter and its position in the “social

justice movement,” which, to a reasonable member of the public, means that ISD 194

supports the viewpoint of Black Lives Matter and its Marxist and Black separatist,

supremacist, and racist ideology that is hostile to White people as well as demeaning to

Black people. Compl. ¶27.

       Prior to the adoption of the posters, the District made similar statements pushing



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back against the inclusion of “brown lives.” At one District meeting, a resident said, “I

have a brown kid,” “and it always seems like the brown kids get left out of the Black Lives

Matter stuff… if we could even make one of ‘em ‘black and brown lives matter’ or

something…?”       March     17,    2021     Board      Work     Session,     available    at

https://isd194letv.viebit.com/player.php?hash=cnRL9UBOdneP, Timestamp 1:51:00.

       The District’s rebuke was swift: “If you make it black and brown lives you’re taking

away from the historical and context (sic) of Black Lives Matter and what that means.” Id.

at 1:52:20. This exchange illustrates that parents and the District are aware that the “Black

Lives Matter” political messaging in these specific posters marginalizes and deliberately

excludes anyone who does not align with this philosophy and whose skin is not the

preferred color. Moreover, it demonstrates that faculty and those responsible for the design

of the posters are conscious that they constitute endorsement of one political ideology to

the exclusion of all others, and that even a minor adjustment in messaging destroys the

chosen discriminatory message.

       Nine-year-olds within ISD 194 understand this. N.W. told the School Board at a

recent meeting that its imposition of the Black Lives Matter posters in Lakeville schools

makes her think of the political movement and its judgment of people based on the color

of skin. Compl. ¶28.

       Further, Defendants’ argument to Plaintiff Cajune for excluding the phrases “All

Lives Matter” and “Blue Lives Matter” acknowledges that Defendants understand that the

phrase “Black Lives Matter” is associated with the private political organization of the

same name, and, moreover, acknowledges that they intend that association to be understood


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by their use of the phrase. Compl. ¶29. In addition, because the posters “were requested by

many staff and families in our school communities,” they are favored private speech of

certain members of the ISD 194 community. Compl. ¶30.

   II.      The Understood Public Meaning of “Black Lives Matter.”

         The slogan, “Black Lives Matter” is well-known to be a neo-Marxist separatist

slogan that identifies Black Americans as “part of the global Black family” and seeks to

“disrupt        the           Western-prescribed        nuclear          family          structure.”

https://web.archive.org/web/20200917194804/https://blacklivesmatter.com/what-we-

believe/ (last visited Nov. 23, 2021). The group “Black Lives Matter at School,” for

example,     expressly   includes     “antiracist”   doctrine     as   part   of   its   principles.

https://www.blacklivesmatteratschool.com/starter-kit.html; https://www.blacklivesmatter

atschool.com/publications.html. (last visited Nov. 23, 2021) This same so-called

“antiracism” can be summed up by the words of Ibram X. Kendi, the author of “How to Be

an Anti-Racist”:

         The only remedy to racist discrimination is antiracist discrimination. The
         only remedy to past discrimination is present discrimination. The only
         remedy to present discrimination is future discrimination.

Kendi, Ibram. “Ibram X. Kendi defines what it means to be an antiracist,” Penguin June 9,

2020,      available     at      https://www.penguin.co.uk/articles/2020/june/ibram-x-kendi-

definition-of-antiracist.html (last visited Nov. 23, 2021). The phrase “Black Lives Matter”

and its part in the “social justice” movement is indistinguishable from these tenets. Compl.

¶21. ISD 194 expressly states in its 2020-2023 Achievement and Integration Plan that it

intends to build “anti-racist” classrooms by training teachers on “culturally responsive

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teaching” practices. ISD 194, Achievement and Integration Plan July 1, 2020 to June 30,

2023, pp. 5-6, available at https://drive.google.com/file/d/1WXTYF2MdYnPRoUcC1Qg

HL5jsBe1EmaGo/view (last visited Nov. 22, 2021).

       “Black Lives Matter” is also the slogan widely associated with the Black Lives

Matter Global Network Foundation. As the Indiana Attorney General recently stated,

“Black Lives Matter is a political organization.” https://www.in.gov/attorneygeneral

/files/Official-Opinion-2021-2.pdf. The Indiana Attorney General further noted that the

actions of the Black Lives Matter Global Network and others have made it clearer in recent

months (since a July 2021 federal memorandum on a somewhat-related issue) that Black

Lives Matter is, in fact, a political organization:

       In October 2020, BLM formed a political action committee (“PAC”), citing
       its inaugural list of political candidate endorsements and noting its success
       in raising funds to “actively engage” in the 2020 election. Its 2020 Impact
       Report notes the PAC’s endorsement of several Democratic Party candidates,
       and includes references to voting for the Democratic Party and Joe Biden.
       Moreover, a former Executive Director and co-founder of BLM is also a co-
       founder of the BLM PAC, making it further difficult to argue the two are
       separate and distinct. The creation of the BLM PAC and the relationship of
       the co-founder within both organizations raises the question of whether the
       BLM can now be considered “political,” or, as the OSC has already framed
       – whether the BLM is an organization engaged in “partisan political
       activity.” Given the additional activities, post-July 14, 2020, that now put
       BLM squarely in the classification of a political organization, any reliance
       on the OSC guidance memo by schools (or the Indiana Department of
       Education (“IDOE”), to the extent it had relied on the memo in the past) is
       no longer valid.
       ….
       School corporations should be mindful to adopt neutral policies regarding
       the display of signs and other materials that are applied in a uniform and
       consistent manner to not favor any political group or organization. They must
       ensure if they permit signs, displays, and other expressive materials or speech
       promoting one political organization, such as BLM, they must allow the same
       for all political and similar organizations. Likewise, if the school


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       organization prohibits one political or similar organization from displaying
       signs or other expressive materials or speech, it must prohibit all political and
       similar organizations from displays, promotions, and exhibitions in its
       schools and on its premises, including BLM and other similar organizations.

Id.

       The Black Lives Matter Global Network Foundation is a political organization, and

“Black Lives Matter” is its political mantra. It has a fundraising arm, grassroots branches,

and has created a Political Action Committee that has endorsed candidates for Congress

and other partisan offices. https://www.fec.gov/data/committee/C00760686. See BLM

2020 Impact Report, p. 25, available at: https://blacklivesmatter.com/2020-impact-report/.

The Black Lives Matter Global Network Foundation has also created a list of demands. See

https://blacklivesmatter.com/blm-demands/. Some of those demands include “Convict and

Ban Trump from future political office,” and “Expel Republican members of Congress who

attempted to overturn the election and incited a white supremacist attack.” Id.

       Black Lives Matter Global Network Foundation is not the only organization that

employs the slogan, “Black Lives Matter.” However, the Black Lives Matter Global

Network claims exclusivity as to the term “Black Lives Matter” or “BLM,” stating:

       Only BLM chapters who adhere to BLM’s principles and code of ethics are
       permitted to use the BLM name… BLM Global Network strongly
       encourages anyone interested in learning about or becoming a part of our
       movement to seek information from trusted, official sources — such as our
       BLM Global Network social feeds (@blklivesmatter), our emails, and our
       official Black Lives Matters website (blacklivesmatter.com) — rather than
       unknown or untrusted sources using BLM’s name.

https://blacklivesmatter.com/for-immediate-release-statement-by-kailee-scales-

managing-director-of-blm-global-network/.



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       Other organizations that claim to be related to the Black Lives Matter slogan are

decried as not being affiliated with the Black Lives Matter Movement. “‘In a statement to

BuzzFeed News, a Black Lives Matter spokesperson confirmed that the groups are indeed

‘two completely separate organizations’ and that Barnes’ foundation ‘has nothing to do

with us. The Santa Clarita group is improperly using our name,’ the spokesperson said.

‘We intend to call them out and follow up.’” https://www.buzzfeednews.com/

article/ryanmac/black-lives-matter-foundation-unrelated-blm-donations.

       Since the above articles in 2020, the BLMGNF has continued to centralize and

control the finances of the BLM movement, to the point that some number of smaller

organizations are protesting at how the larger organization is not directing sufficient

funding their way. https://apnews.com/article/black-lives-matter-90-million-finances-

8a80cad199f54c0c4b9e74283d27366f.

       ISD 194 allows the private political speech inherent in the BLMGNF and prohibits

contrary viewpoints through its Poster Series.

   III.     The District’s Other Racially Biased Actions.

       The District’s other actions indicate its knowledge and support of the racially biased

goals of the Black Lives Matter political organization and ISD 194’s commitment to

viewpoint discrimination. Compl. ¶31.

       Superintendent Michael Baumann’s memo of September 22, 2020, acknowledges

that the display of the phrase “Black Lives Matter” carries political significance in violation

of ISD 194 Policy 535’s prohibition on “conduct that is intended to be or that reasonably




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could be perceived as endorsing or opposing specific political issues or political

candidates.” ISD 194 Policy 535(IV)(A)(5); Compl. ¶32.

       In addition, when Plaintiff Cynthia Cajune proposed that all cultures, such as

Japanese, Norwegian, Dutch, Irish, and so on be represented in an event in which ISD 194

is participating, ISD 194’s equity coordinator at first stated, “I like where you are going”

and then connected her with those leading the planning for the event. But when Ms. Cajune

asked those to whom ISD 194 referred her about being part of the planning committee for

the event, the response was cold:

       Let me be explicitly clear about the goal and objective of this committee and
       event: Our committee is focused on centering equity and bringing awareness
       to the beautiful diversity from the BIPOC community that is becoming
       lakeville. Fortunately for European heritage and culture, it is represented and
       overly represented 365 days a year and has been for centuries. This is not the
       space for that. This event will only focus on the Cultures and Communities
       of Color that are underrepresented, specifically the BIPOC community….

       Finally, let me also be explicitly clear: our interests are not aligned. So while
       there is no place for you or your husband on this committee, you are welcome
       to attend the event in October and be enlightened….

The writer of this email signed off with the tag line, “Black Lives Matter.” Compl. ¶¶33-

34.

       After Ms. Cajune followed up with ISD 194 seeking to know to what extent ISD

194 is “collaborating” with this racially biased event and apparently ISD-194-supported

event, ISD 194 went silent and failed to respond to her request for clarification,

demonstrating tacit acceptance of this divisive and non-inclusive statement made to Ms.

Cajune. Compl. ¶35.



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          ISD 194 has also contracted with “equity consultants” who presented to District

essential tenets of Critical Race Theory, such as the premise that “Race Neutral” policies

and practices “continue to uphold a system where Black, Indigenous, and people of color

(BIPOC) experience disproportionately negative outcomes in comparison to white people.”

ISD 194 has allowed dissemination of these racist ideas in its elementary school

classrooms. As just one other example, ISD 194 has shown to fifth-grade students at

Eastview Elementary a video from the “BrainPOP” collection that states that “structural

racism” in America “makes life easier for White people and more difficult for Black people

and People of Color.” That same video told these fifth-graders that “Black Lives Matter

grew into a movement” and praised the Minneapolis City Council’s now-failed 2020

resolution to dismantle the Minneapolis Police Department. https://www.youtube.com/

watch?v=xv3dAJUTCT0. Compl. ¶¶36-37.

    IV.      The Plaintiffs Are Parents of Students, Residents, and Taxpayers of ISD
             194.

          Plaintiffs Bob and Cynthia Cajune are taxpayers who are residents of ISD 194 and

pay taxes forwarded to ISD 194 as a pass-through by their County Auditor pursuant to

Minnesota law. Compl. ¶10; Minn. Stat. §276.10. Plaintiff Kalynn Aaker is the mother of

Plaintiff N.W. and four other minor students who attend ISD 194 schools. Aaker Aff. ¶4.3



3
  To the extent the Court considers Defendants’ submitted affidavit in support of their Rule
12 motion, the Court must consider Kalynn Aaker’s responsive affidavit. Court v. Hall
Cty., 725 F.2d 1170, 1172 (8th Cir. 1984); see also Wimberly v. Clark Controller Co., 364
F.2d 225, 227 (6th Cir. 1966) (responsive affidavits may be filed on Rule 12 motions where
the moving parties file motions in support of their position).


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Ms. Aaker is also a taxpayer to ISD 194. Compl. ¶12. She and the Cajunes are also

members of LION 194, which is an association of parents in Lakeville who advocate for

the children of ISD 194, including against this divisive Poster Series. Compl. ¶11. The Doe

and Roe Plaintiffs are also ISD 194 taxpayers. Compl. ¶13.

       ISD 194 is made up of a total of 57,959 people, over 11,000 of which are minor

students.    There      are      only     20,350      households       in     the     District.

https://nces.ed.gov/Programs/Edge/ACSDashboard/2717780.



                                  LEGAL ARGUMENT
       ISD 194 has engaged in viewpoint discrimination by allowing the expression of

private political speech supporting the Black Lives Matter political organization and

movement, but disallowing contrary viewpoints, such as “All Lives Matter” or “Blue Lives

Matter.” While ISD 194 claims that it is engaging in government speech, it is not, and the

Supreme Court’s 2017 warning against such applications of the government speech

doctrine is prophetic here:

       But while the government-speech doctrine is important—indeed, essential—
       it is a doctrine that is susceptible to dangerous misuse. If private speech could
       be passed off as government speech by simply affixing a government seal of
       approval, government could silence or muffle the expression of disfavored
       viewpoints. For this reason, we must exercise great caution before extending
       our government-speech precedents.

Matal v. Tam, 137 S. Ct. 1744, 1758 (2017).

       Because the government speech doctrine does not apply to efforts to squelch

competing speech in government fora, the First Amendment’s forum analysis applies here.



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The Lakeville Schools’ hallways and classrooms are limited public fora by virtue of the

Poster Series, which opened up those hallways and classrooms for expression. ISD 194

cannot regulate the content of expression in those hallways absent a compelling

government interest and narrow tailoring to achieve that interest. Bowman v. White, 44

F.3d 967, 975 (8th Cir. 2006). And even if the District’s hallways and classrooms, opened

up for expression to the Poster Series, are a “nonpublic forum,” the exclusion of contrary

viewpoints still fails First Amendment scrutiny because the exclusion is based on

Plaintiffs’ viewpoint, which is “all the more blatant” discrimination. Rosenberger v.

Rector, 515 U.S. 819, 829 (1995).

         The Poster Series, which launders private expression in the form of the political

mantra, “Black Lives Matter,” and prohibits the dissemination of contrary messages,

violates the First Amendment and should be enjoined.

    I.      Standard for These Cross-Motions.

         The Court faces cross-motions for judgment on the pleadings and for a preliminary

injunction under Rule 65. Because Defendants supplemented the record on a Rule 12(c)

motion, however, it “must be treated as one for summary judgment under Rule 56.” Fed.

R. Civ. P. 12(d).4 Because the merits analysis for a Rule 56 motion overlaps with the Rule



4
  Defendants cite case law related to supplementation of the record on Rule 12(b)(1)
motions related to subject-matter jurisdiction, but these cases do not relate to Rule 12(c)
motions. Rule 12(c) and 12(b)(6) motions are subject to a different standard than Rule
12(b)(1) motions related to subject-matter jurisdiction. The Court can only consider the
Massaros Affidavit so long as the Court considers Plaintiffs’ contrary affidavits and
converts the motion to a Rule 56 motion. Fed. R. Civ. P. 12(d) (providing that “[i]f, on a
motion under Rule 12(b)(6) or 12(c), matters outside the pleadings are presented to and not

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65’s “likelihood of success” prong, we present both arguments within the Rule 65 analysis.

       On a Rule 56 motion for summary judgment, the movant must “show[] that there is

no genuine dispute as to any material fact and the movant is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(a). The Court “draw[s] all reasonable inferences in a light most

favorable to the nonmoving party.” Pals v. Weekly, 12 F.4th 878, 881 (8th Cir. 2021).

       To obtain a preliminary injunction under Federal Rule of Civil Procedure 65, “a

plaintiff…must establish that he is likely to succeed on the merits, that he is likely to suffer

irreparable harm in the absence of preliminary relief, that the balance of equities tips in his

favor, and that an injunction is in the public interest.” Winter v. Nat. Resources Def.

Council, Inc., 555 U.S. 7, 20 (2008); Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109,

113 (8th Cir. 1981).

       In addition, because “‘[t]he loss of First Amendment freedoms, for even minimal

periods of time, unquestionably constitutes irreparable injury,’” the irreparable harm

element is satisfied if Plaintiffs are likely to succeed on the merits.” Powell v. Noble, 798

F.3d 690, 702 (8th Cir. 2015) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)). Further,

in the First Amendment context,

        [t]he determination of where the public interest lies also is dependent on the
       determination of the likelihood of success on the merits of the First
       Amendment challenge because it is always in the public interest to protect
       constitutional rights. The balance of equities, too, generally favors the
       constitutionally protected freedom of expression. In a First Amendment case,
       therefore, the likelihood of success on the merits is often the determining
       factor in whether a preliminary injunction should issue.


excluded by the court, the motion must be treated as one for summary judgment under Rule
56”).

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          Phelps-Roper v. Nixon, 545 F.3d 685, 690 (8th Cir. 2009) (citations omitted).

    As Plaintiffs demonstrate, they are likely to succeed on the merits of their claims, and

the other Dataphase factors favor them. The Court should therefore deny Defendants’

motion for judgment on the pleadings and grant Plaintiffs’ motion for a preliminary

injunction.




    II.      Plaintiffs Have Standing as Parents, Students, or Municipal Taxpayers.

          As demonstrated by the pleadings and by the Affidavit of Kalynn Aaker,5 Plaintiffs

are parents, are suing on behalf of students, and are municipal taxpayers of ISD 194. They

easily satisfy the requirements for standing in this case.

             A. Kalynn Aaker and Her Children Have Standing to Sue as a Parent of
                Students and as Students in the District.

          Despite Defendants’ improper supplementation of the record on this Rule 12(c)

motion, Kalynn Aaker has standing to sue as a parent of children in ISD 194. As noted

above, Plaintiffs’ counsel was not aware of the withdrawal of N.W. from ISD 194 because

of ISD 194’s continued creation of a hostile educational environment for her. Joseph Aff.

¶ 2; Aaker Aff. ¶3. Tony Massaros’ affidavit was the first the undersigned had heard of

this. Joseph Aff. ¶ 2. Upon investigation, this is true. Aaker Aff. ¶2. But if Mr. Massaros



5
  Again, this affidavit is only presented to the Court because Defendants submitted the
affidavit of Tony Massaros related to Ms. Aaker and N.W.’s standing.

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is “familiar with Plaintiff N.W.,” Massaros Aff. ¶4, then he also must know that N.W. has

four siblings in the District. Aaker Aff. ¶4. It should trouble the Court that Mr. Massaros

submitted an affidavit clearly calculated to try to get a dismissal on standing despite his

admission that he knows who N.W. is and therefore must know, or is easily able to

ascertain, whether N.W. has siblings currently in the District. See Massaros Aff. ¶4.

       Plaintiff Aaker clearly has standing to assert claims for her children under 42 U.S.C.

§1983 and Title VI. Pocono Mountain Charter Sch. v. Pocono Mountain Sch. Dist., 908 F.

Supp. 2d 597, 616 (M.D. Pa. 2012) (parents have standing to bring Title VI claims because

of Title VI injuries to their schoolchildren); Pollack v. Reg'l Sch. Unit 75, 12 F. Supp. 3d

173, 201 (D. Me. 2014) (plausible allegations that “the ‘real rationale’ for the District's

restriction is its ‘disagreement with the underlying ... perspective’ that B.P. and his parents

plan to express” were sufficient to give parents standing to sue under the First Amendment

and Section 1983).

       Even if the Court were inclined to disagree, Plaintiffs should be allowed leave to

amend the Complaint to include N.W.’s other siblings as Plaintiffs given the surprise of

N.W. leaving ISD 194, and allegations from N.W. consistent with Ms. Aaker’s affidavit

relating to why N.W. left the District. Plaintiffs have filed a conditional motion to amend

based on this premise and request that the Court grant it if the Court is inclined to dismiss

with the current roster of Plaintiffs.

           B. The Pseudonymous Plaintiffs Have Standing to Sue, and the Court
              Should Grant Them Leave to Proceed Pseudonymously.




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       Plaintiffs acknowledge that proceeding pseudonymously is not a given, but are

surprised that Defendants care to dispute the pseudonymous plaintiffs proceeding as such,

given that the pseudonymous plaintiffs’ interests are consistent with the interests of the

named plaintiffs and the pseudonymous plaintiffs pleaded that they fear retribution of the

same kind faced by the Bittersweet Bakery. See generally Compl. The Court should simply

grant the pseudonymous plaintiffs leave to proceed as such.

       Several considerations determine whether a plaintiff's privacy interests substantially

outweigh the presumption of open judicial proceedings. “They include: (1) whether the

plaintiffs seeking anonymity are suing to challenge governmental activity.” Doe v. Porter,

370 F.3d 558, 560 (6th Cir. 2004). In Porter, for example, plaintiffs were allowed to

proceed pseudonymously because their lawsuit required them to “reveal their beliefs about

a particularly sensitive topic that could subject them to considerable harassment.” Id. The

Sixth Circuit there considered as important the fact that people had expressed their

opposition to the lawsuit in public fora. Id.

       Likewise here, activists in Lakeville rallied to “cancel” a bakery, the Bittersweet

Bakery, when its owner publicly stated opposition to Critical Race Theory in Lakeville

schools. Compl. ¶13. Just because some of the Plaintiffs are willing to take the risk of that

harassment—and it has happened to them—does not mean that proceeding in this lawsuit

should be that kind of risk for every plaintiff.

       The pseudonymous plaintiffs’ standing is bound up in the standing of Kalynn Aaker

and Bob and Cynthia Cajune, and they have standing under those analyses.

           C. The Municipal Taxpayer Plaintiffs Have Standing Under the Everson


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              Case.

       As residents of Lakeville ISD 194, Plaintiffs Bob and Cynthia Cajune and Kalynn

Aaker, along with the similarly situated pseudonymous plaintiffs, have “municipal”

taxpayer standing to file suit against the “municipal” entity that deprived them of their First

Amendment rights, which is ISD 194.

                1.    Huizenga was wrongly decided, and this Court is not bound by
                      other judges’ decisions within the District.

       The Huizenga Court—in a decision currently on appeal—rested its decision to the

contrary on an analogy to the Everson v. Board of Education of Ewing Township case. But

the Huizenga Court mistook the nature of Minnesota’s school district taxation system.

Huizenga was incorrectly decided, and this Court has no obligation to follow its decision.

       On the issue of municipal taxpayer standing, the Supreme Court has held:

       The interest of a taxpayer of a municipality in the application of its moneys
       is direct and immediate and the remedy by injunction to prevent their
       misuse is not inappropriate.

Doremus v. Bd. of Ed. of Borough of Hawthorne, 342 U.S. 429, 433-34 (1952) (citing

Commonwealth of Massachusetts v. Mellon, 262 U.S. 447, 486 (1923) (Frothingham v.

Mellon) (emphasis added)). The Doremus Court’s decision rested in part on Everson v.

Board of Education of Ewing Township. There, the appellant predicated his standing on

“his capacity as a district taxpayer.” Everson v. Bd. of Ed. of Ewing Twp., 330 U.S. 1, 3

(1947) (emphasis added).

       Relying on Frothingham’s characterization of the “peculiar relation of the corporate

taxpayer to the corporation,” 262 U.S. at 487, the Huizenga Court rejected the plaintiffs’



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municipal taxpayer standing because “plaintiffs can only use their municipal taxpayer

status to sue the municipal entities to which they paid taxes.” Huizenga v. Indep. Sch. Dist.

No. 11, No. 20-CV-2445 (NEB/ECW), 2021 WL 2515361, at *3 (D. Minn. June 18, 2021).

The Court there erroneously believed that the plaintiffs did not pay taxes to the school

district defendant in the exact same way as the Everson plaintiffs. Id. at *4. When that

relationship is properly understood, and when the Huizenga Court’s own analysis of

Everson in its footnote 7 is applied, the plaintiffs there have standing, and the Plaintiffs

here have standing.

       Minnesota school districts are, definitionally, public corporations. Minn. Stat. §

123A.55. They receive the vast majority of their funding from state funds and from tax

levies on property within each district. They receive the local property tax dollars

specifically from property owners within the district, with the County Auditor as a mere

pass-through.

       To explain more fully, after property taxes are collected in a given year from District

residents, the County Auditor forwards to the District those tax dollars pertaining to it.

Minn. Stat. § 276.10 (“On the settlement day determined in section 276.09 for each year,

the county auditor and county treasurer shall distribute all undistributed funds in the

treasury. The funds must be apportioned as provided by law, and credited to the town, city,

school district, special district and each county fund.”). The County Auditor is nothing

more than a pass-through entity for ISD 194 and the Huizenga defendant (ISD 11), and it

simply makes sure the dollar amounts are correct and sends the money forward. ISD 194,

like ISD 11 in Huizenga, unquestionably receives a portion of the property tax payments


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made by Plaintiffs, automatically forwarded by the Dakota County Auditor.

       ISD 194, like ISD 11 in Huizenga, also levies funds from Plaintiffs via referenda

pursuant to a statutory process outlined in Minn. Stat. § 126C.17, Subd. 9. In general, “[t]he

[general education] revenue authorized by section 126C.10, subdivision 1, may be

increased in the amount approved by the voters of the district at a referendum called for

the purpose. The referendum may be called by the board.…” Id. at Subd. 9(a). ISD 194

must provide notice to taxpayers within the district that this levy will occur. Importantly:

       The notice must project the anticipated amount of tax increase in annual
       dollars for typical residential homesteads, agricultural homesteads,
       apartments, and commercial-industrial property within the school
       district….The notice must include the following statement: "Passage of this
       referendum will result in an increase in your property taxes."

       Id. at Subd. 9(b).

       ISD 194 proposed, and the voters passed in both 2019 and 2021, tax levies and bond

referenda in place today. E.g., https://www.isd194.org/Page/1608. These levied funds are

collected through property taxes. Again, there is no question that Plaintiffs’ tax dollars are

collected by the Dakota County Auditor and then directly paid over to ISD 194. Minn. Stat.

§ 276.10. And again, the County Auditor is only a pass-through for ISD 194—the Auditor

merely makes sure the numbers are right before forwarding the tax receipts.

       Given these facts, the Huizenga Court’s own Everson analysis conclusively supports

Plaintiffs’ standing here. In footnote 7, that Court interpreted Everson:

       The state court in Everson explained that the New Jersey legislature had
       “delegate[d] taxing powers to local school districts to raise funds for local
       school purposes.” Everson v. Bd. of Educ., 44 A.2d 333, 336 (N.J. 1945),
       affʹd, 330 U.S. 1 (1947); see id. (“School districts, such as the appellant, are
       authorized by R.S. 18:7– 78, N.J.S.A., to raise by special district taxes funds


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       to defray certain current charges and expenses of the public schools in their
       districts.”); see also Doremus v. Bd. of Educ., 75 A.2d 880, 881 (N.J. 1950)
       (noting that New Jersey public schools were supported “in part by funds
       raised exclusively in the school district by levy upon taxable property within
       the school district.”). Because the Everson taxpayer sued the school district
       that levied the taxes at issue, Everson does not contravene the proposition
       that municipal taxpayers only have standing to sue the municipal entities to
       which he paid taxes.

       JA 172-173 (Order at 10-11 n.7).

       Minnesota’s local governments regularly organize themselves this way for efficient

distribution of tax dollars throughout the various school districts. If Defendants were right

about municipal taxpayer standing, there would be no remedy for any taxpayer to a School

District to ever challenge unconstitutional actions as such in the State of Minnesota.

Virtually all municipal taxpayer standing would be foreclosed under their theory. This is

plainly not contemplated by Everson and it would open the door for even more egregious

First Amendment abuses like those at bar.

       Next, a closer look at the New Jersey statutes referenced in Everson fully supports

standing here. In 1967, the New Jersey Legislature revamped its Education Code, passing

Title 18A to replace the Title 18 which had been in place during the Everson case. N.J.

Sess. L. 1967, p. 941; Acts of the Legislature of New Jersey, 1967, Volume II, Section

18A:22-33, referencing R.S. 18:7-78, available at https://dspace.njstatelib.org/xmlui/

handle/10929/54666. The revamped code provides for a “special district tax” to be voted

on by the district voters, and if approved, to be certified “to the county board of taxation,”

and “the amounts so certified shall be included in the taxes assessed, levied, and collected

in the municipality or municipalities comprising the district for such purposes.” Id.;



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compare N.J. Rev. Stat. § 18A:22-33 (2012) (referencing R.S. 18:7-78).

       As Plaintiffs explain above, that is exactly what Minnesota law does for ISD 194—

it can levy, and currently is levying, tax dollars from Plaintiffs’ property taxes, which are

certified to the county auditor and then collected from Appellants and other ISD residents.

The applicable Minnesota law is indistinguishable from the New Jersey law the Huizenga

Court claimed was distinguishable.

       There is absolutely no question that ISD 194 is an entity to which Plaintiffs “pa[y]

taxes.” Under the Huizenga Court’s own Everson analysis, that Court should have held that

those plaintiffs have standing.



                2.   ISD 194 taxpayers have standing for the same reasons that
                     compelled subsidy plaintiffs have federal court standing.

       The Supreme Court has described the type of compelled subsidy that violates the

First Amendment as one where “an individual is required by the government to subsidize

a message he disagrees with, expressed by a private entity.” Johanns, 544 U.S. at 557. In

addition, the Supreme Court has held that “mandated support is contrary to the First

Amendment principles set forth in cases involving expression by groups which include

persons who object to the speech, but who, nevertheless, must remain members of the

group by law or necessity. See, e.g., Abood . . . .”). United Foods, 533 U.S. at 413.

       So long as Plaintiffs live within the geographical boundaries of ISD 194 and pay

property taxes, they “must remain members of the [forced subsidy paying group] by law

or necessity.” The mushroom growers in United Foods and the municipal taxpayers in this



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case are substantially similar for purposes of standing analysis. Like the mushroom growers

were forced to pay for objectionable marketing in United Foods, municipal taxpayers

within ISD 194’s geographical reach, “by law,” must pay property taxes allocated directly

to ISD 194 and then used to subsidize some members of the community’s “Black Lives

Matter” ideology. ISD 194’s taxpayers also have a unique interest in local spending like

the interest in industry spending of the mushroom growers in United Foods or the agency-

fee payers in Abood and Janus. It is therefore no surprise that the Supreme Court’s

compelled subsidy jurisprudence is strikingly similar to the Supreme Court’s view of

municipal taxpayer standing:

       The interest of a taxpayer of a municipality in the application of its moneys
       is direct and immediate….The reasons which support the extension of the
       equitable remedy to a single taxpayer in such cases are based upon the
       peculiar relation of the corporate taxpayer to the corporation, which is not
       without some resemblance to that subsisting between stockholder and private
       corporation.

       Frothingham, 262 U.S. at 486-87.

       The population of the District in comparison to the number of public employee

union members in Janus is striking. ISD 194 is made up of a total of 57,959 people, over

11,000 of which are minor students. There are only 20,350 households in the District.

https://nces.ed.gov/Programs/Edge/ACSDashboard/2717780. In Janus, Mark Janus was

one of about 35,000 public union members. Janus v. AFSCME, Council 31, 138 S. Ct.

2448, 2461 (2018). The number of taxpayers with standing to sue ISD 194 is likely less

than the number of union members who could have sued AFSCME Council 31 in Janus.

That “direct and immediate” interest identified in Frothingham is just as direct and



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immediate here. The same interests which support standing in compelled subsidy cases

support standing in the municipal taxpayer realm.

                3.   Any fair reading of the Complaint would conclude that the
                     “inclusive” Poster Series at issue resulted from the expenditure of
                     District funds.

       Defendants make an absurd and hyper-technical claim that Plaintiffs did not

expressly allege that the so-called “inclusive” Poster Series at issue did not result from the

spending of District tax dollars. To read the Complaint this way would be uncharitable, at

best. Defendants, who possess all records of their expenditures, say absolutely nothing to

support their claim—are they claiming that the posters were donated?6 No evidence

supports that counter-allegation. Under Rule 56 (or Rule 12, if that were the standard), the

Court must take all reasonable inferences in Plaintiffs’ favor. Posters cost money. The only

reasonable reading of the Complaint would infer that the posters were a District expense

which used dollars from its funding sources described above. Under any reading of the

theory, municipal taxpayer standing is available to challenge that expenditure.

                4.   Vindication of First Amendment rights should be encouraged
                     under the municipal taxpayer standing doctrine.

       Finally, it is a particularly bad policy to deny municipal taxpayers the right to enjoin

viewpoint discrimination against them using their local tax dollars. Violation of First

Amendment rights, “even for minimal periods of time, unquestionably constitutes

irreparable harm.” Elrod v. Burns, 427 U.S. 346, 373 (1976). And again, in the compelled



6
 If so, this would even further support Plaintiffs’ assertion that the posters are private
political speech laundered via the ISD 194 Board and Superintendent.

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subsidy arena, First Amendment rights are exceptionally strong. Janus, 138 S. Ct. at 2460.

(“to compel a man to furnish contributions of money for the propagation of opinions which

he disbelieves and abhor[s] is sinful and tyrannical”) (quoting A Bill for Establishing

Religious Freedom, in 2 Papers of Thomas Jefferson 545 (J. Boyd ed. 1950)).

       For these reasons, the Court should hold that Plaintiffs have municipal taxpayer

standing to sue here.

             D. LION 194 Has Associational Standing.

       Plaintiffs do not dispute that associational standing requires individual members of

the association to have standing themselves to sue. As discussed herein, Kalynn Aaker and

Bob and Cynthia Cajune are members of LION 194. Aaker Aff. ¶5; Compl. ¶11. For the

same reasons they have standing, LION 194 has standing.

    III.     Plaintiffs Are Likely to Succeed on the Merits.

       As noted above, many of the factors for the preliminary injunction analysis in First

Amendment claims merge together. Most important is the success on the merits analysis,

which typically swallows the public interest and irreparable harm analysis in First

Amendment claims. Powell v. Noble, 798 F.3d 690, 702 (8th Cir. 2015) (quoting Elrod v.

Burns, 427 U.S. 347, 373 (1976)); Phelps-Roper v. Nixon, 545 F.3d 685, 690 (8th Cir.

2009). Plaintiffs consistently assert that because they are likely to succeed on the merits,

they are entitled to injunctive relief in this context.7



7
 To the extent the analyses are not coextensive, the loss of First Amendment rights is per
se irreparable harm, Elrod v. Burns, supra, and the interest in upholding citizens’ First
Amendment rights is stronger than the interest in a government body squelching them.

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          A. Plaintiffs Are Likely to Prevail on Their First Amendment Claims.

       Whether the Court views the hallways and classrooms of Lakeville’s public schools

as a limited public forum or a nonpublic forum, Plaintiffs prevail. ISD 194’s laundering of

political “Black Lives Matter” speech and forbidding of contrary messages is not

government speech; it is viewpoint-based discrimination in a limited public forum. Courts

have specifically warned against conduct just like the District’s, which is a thinly-veiled

effort to hide behind the government speech doctrine to present preferred political

messaging by select members of its staff and community. The speech of select employees

of the District who choose to present “Black Lives Matter” political materials to students

does not constitute government speech any more than divergent viewpoints among staff

members differ from curriculum adopted by the District.

                1.   ISD 194’s Poster Series is not “government speech.”

       As discussed above, the Supreme Court warned against the abuse of the government

speech doctrine in 2017:

       But while the government-speech doctrine is important—indeed, essential—
       it is a doctrine that is susceptible to dangerous misuse. If private speech could
       be passed off as government speech by simply affixing a government seal of
       approval, government could silence or muffle the expression of disfavored
       viewpoints. For this reason, we must exercise great caution before extending
       our government-speech precedents.




E.g., Amalgamated Transit Union Loc. 85 v. Port Auth. of Allegheny Cty., 513 F. Supp. 3d
593, 622 (W.D. Pa. 2021).


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       Matal v. Tam, 137 S. Ct. 1744, 1758 (2017).8 Nonetheless, evidently by virtue of

staff and instructors’ employment at ISD 194, Defendants claim that they can adopt any

private political viewpoint, slap a government imprimatur on it, and avoid this Court’s

review. Not so. This Court must recognize Defendants’ efforts to cloak its First

Amendment violations for what they are: an effort to stifle opposing viewpoints in favor

of preferred political messaging.

       The test for what qualifies as “government speech” immune from challenges based

upon viewpoint discrimination is discussed in Gerlich v. Leath, 861 F.3d 697, 707-08 (8th

Cir. 2017). There, the Eighth Circuit considered three factors from the Supreme Court’s

Walker v. Texas Division, Sons of Confederate Veterans, Inc., 135 S. Ct. 2239 (2015):

       First…whether the government has long used the particular medium at issue
       to speak….Second…whether the medium is often closely identified in the
       public mind with the state….Third…whether the state maintains direct
       control over the messages conveyed through the medium.

Gerlich, 861 F.3d at 708 (cleaned up). Each factor will be discussed in turn.

       First, there is no evidence that ISD 194 has long used political posters in hallways

and classrooms to speak. In fact, until this year, it claimed to have a policy against it. One

can only imagine the uproar if ISD 194 chose to put up posters supporting Donald Trump

and stating animosity toward Joe Biden, or claiming that the 2020 election was stolen.




8
  Further, “the government speech doctrine does not apply if a government entity has
created a limited public forum for speech.” Gerlich v. Leath, 861 F.3d 697, 707 (8th Cir.
2017). As Plaintiffs argue below, Defendants created a limited public forum by allowing
the posting of the Poster Series in its hallways and classrooms. If the Court agrees, it need
not engage in further analysis of the government speech doctrine.


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Make no mistake, the Poster Series is a new creature, and it is intentionally designed to

express the preferred speech of “students, school staff, school building leaders, the School

Board, community advisory groups and others,” Compl. ¶8, to the detriment and in

opposition to speech like Plaintiffs’. The stated “central purpose of the program” is to

“affirm and support” certain ethnicities while refusing to take the same step for others.

October 13, 2020 ISD 194 Regular School Board Meeting, at 2:09:40, available at

https://isd194letv.viebit.com/player.php?hash=G8FTFxRoB06Q# (last visited Nov. 23,

2021). The Poster Series is expressly intended to “give Black people a specific place of

honor,” and not others. March 17, 2021 ISD 194 Board of Education Work Session at

1:53:12,           available           at          https://isd194letv.viebit.com/player.php?

hash=cnRL9UBOdneP. This notion of preferential treatment for some students based on

race has also been expressed, variously, as an “unwavering commitment,” an

“acknowledgment,” “centering equity,” and “bringing awareness” by exclusively focusing

on certain races. See generally Compl. The very nature of the messaging behind these

posters is such that students and members of the community are divided by race, with some

being elevated above others; this is not government speech by any definition.

       Second, there is no evidence that the medium at issue is closely identified in the

public mind with the state. Rather, private parties and entities responsible for the design of

the posters exercised extensive editorial control, including determining what the posters

looked like, fine-tuning details of the races and genders of the characters in the posters, and

how many posters were to be hung in which places. Non-government entities also

determined how the posters were to be hung, including framing. There is no indication that


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the ISD 194 School Board exercised any editorial control in the creation of the posters.

These posters were revised by the public, where committees and focus groups were chosen

by the District. The private parties were chosen specifically because they were not

representatives of the District and could provide input as private citizens in crafting the

message within the posters. See April 27 ISD 194 Regular School Board Meeting at

00:31:40-00:32:10,       available    at    https://isd194letv.viebit.com/player.php?hash=

5XPZCbrakrgG# (last visited Nov. 23, 2021). This prong tilts decidedly against

government speech.

       Third, ISD 194 does not exercise direct control over the Poster Series. It is like a

pillow ripped open with its feathers scattered to the wind. The District allows teachers and

employees to post these posters in District hallways and classrooms. It does not control the

Poster Series’ direct placement. Thus, the “literal speaker” in the Poster Series is properly

understood as either the teacher who chooses to display the posters in his/her classroom,

or the school official who elected to display the posters in the hallway. To the extent that

the creators are understood as the “speakers,” this factor weighs heavily in favor of finding

that this constitutes private expression, and not government speech. The decision on

whether to “speak” through the posters in support of the “Black Lives Matter” political

ideology is left to individuals.

       The government speech doctrine requires that the government have the final

approval authority over a message for something to be government speech. Here, the

posters were first presented to the school board on March 17, 2021 as finished products.

By that time, they had been reviewed and edited by the Equity Steering Committee


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composed of school district teachers, designed by students, and shown to focus groups of

parents. The school board did exercise minor input, and there was a long discussion about

whether the words “Brown Lives Matter” were necessary because Black Lives Matter

referred only to Black people, but the school board took no official action to allow or

change the posters. The only edit discussed was an edit changing a blonde girl holding a

rainbow flag, saying “be proud of who you are,” into a blonde boy, and that was agreed to

before the Poster Series hit ISD 194 classrooms and hallways.

         This is in stark contrast to the Board Communication section of ISD 194’s school

board meetings, where the school board prepares remarks, and then has the chair of the

school board speak and address the issues that were addressed in previous public comments

or that would benefit the community. When Zach Duckworth, a former faculty member,

addressed the audience during the board communication and said “Black Lives Do Matter,”

this is much more likely to be classified as government speech, as it was not selected,

directed, edited, and implemented by private citizens. October 13, 2020 ISD 194 Regular

School         Board       Meeting,       at        00:49:50-00:50:31,     available       at

https://isd194letv.viebit.com/player.php?hash=G8FTFxRoB06Q (last visited Nov. 23,

2021).

         The Poster Series was specifically designed to facilitate private speech by teachers

and to be added to classrooms of teachers who desired these posters. The posters were to

be ordered by teachers or principals from a catalog, and the notion that the messages could

be turned into shirts or displayed by alternate means was also discussed. That catalog

included all eight of the posters that were designed, allowing teachers to pick and choose


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their preferred speech. Just as the school district said, these posters are to satisfy and enable

teachers to engage in private speech. They are not to announce a message from ISD 194.

They are products of a limited number of students, parents, and teachers of ISD 194, whose

political views aligned with a chosen viewpoint. This precludes these posters from being

government speech; instead, they are private speech by private speakers whose District has

affixed its “seal of approval” to create viewpoint discrimination.

                2.    The hallways of ISD 194 are limited public fora.

       Defendants contend that, under Walker v. Texas Div., Sons of Confederate Veterans,

Inc., and by virtue of the District’s failure to officially designate the pertinent portion of

the school a “limited public forum,”9 the District has insulated itself from accountability

under the First Amendment. Specifically, Defendants argue that, because no principal,

superintendent, or school board “took any action to designate or approve any portion of

District property as a limited public forum,” Plaintiffs’ speech may properly be curtailed.

Defs. Br. at 23. This argument fails for multiple reasons.

       First, as Walker establishes, a government creates a limited public forum by



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 Defendants argue that there is a distinction between limited public forums and nonpublic
forums and that because the walls are a nonpublic forum they are held to a lesser standard.
But this court and the Eighth Circuit have held otherwise. “The Supreme Court uses the
terms ‘nonpublic forum’ and ‘limited public forum’ interchangeably. Both refer to
situations in which the government has created a forum for expressive activity but limited
that forum to certain speakers or certain topics or in some other respect.” Viewpoint
Neutrality Now! v. Regents of U. of Minnesota, 516 F. Supp. 3d 904, 917 n.19 (D. Minn.
2021) (footnote 19) (citing Victory Through Jesus Sports Ministry Found. v. Lee's Summit
R-7 Sch. Dist., 640 F.3d 329, 334 (8th Cir. 2011)). But even if the Court were to hold that
the hallways of ISD 194 are a “nonpublic forum,” they still may not host viewpoint
discrimination. Bowman, 444 F.3d at 976.

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“intentionally opening a nontraditional forum for public discourse.” 576 U.S. at 215

(quoting Cornelius v. NAACP Legal Defense & Ed. Fund, Inc., 473 U.S. 788, 802 (1985)).

“And in order to ascertain whether [a government] intended to designate a place not

traditionally open to assembly and debate as a public forum, [the] Court has looked to the

policy and practice of the government and to the nature of the property and its compatibility

with expressive activity.” Id. at 215-16.

       Here, by authorizing and allowing the expression of certain preferred speech

espoused by members of the public through teachers and faculty in the form of posters,

ISD 194 took deliberate action to use its walls for expressive private speech. The decision

to allow the posters was not taken lightly. The record indicates that extensive debate took

place among the School Board, members of the public, students, and staff, during which

several people expressed caution that the messaging in the “Black Lives Matter” posters

was political, divisive, and would raise public ire. Nonetheless, ISD 194 intentionally

opened its hallways and classrooms to political expression.

       Second, Walker does not stand for the proposition that a formal policy must be

adopted to create a limited public forum. The walls of the school became limited public

fora when the decision was made to authorize their use to deliver a political message. A

“limited public forum is a subset of the designated public forum [that] arises where the

government opens a non-public forum but limits the expressive activity to certain kinds of

speakers or to the discussion of certain subjects.” Bowman v. White, 444 F.3d 967, 976 (8th

Cir. 2006) (internal quotations omitted). If Defendants’ interpretation of Walker were

correct, a government entity could present unopposed and expressly political speech while


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maintaining a nonpublic forum by simply refusing to adopt a formal declaration

designating the space as a public forum. This has no support in case law or the Constitution.

       Third, once the state has opened a place for expressive activity by the public, the

Constitution forbids a state actor from enforcing certain exclusions from a forum even if it

was not required to create the forum in the first place. Perry Educ. Ass’n v. Perry Local

Educators’ Ass’n, 460 U.S. 37, 45 (citing Widmar v. Vincent, 454 U.S. 263 (1981)

(university meeting facilities); City of Madison Joint School District v. Wisconsin Public

Employment Relations Comm'n, 429 U.S. 167 (1976) (school board meeting); Southeastern

Promotions, Ltd. v. Conrad, 420 U.S. 546 (1975) (municipal theater)). And although “a

state actor is not required to indefinitely retain the open character of the facility, as long as

it does so it is bound by the same standards as apply in a traditional public forum.

Reasonable time, place and manner regulations are permissible, and a content-based

prohibition must be narrowly drawn to effectuate a compelling state interest.” Perry, 460

U.S. at 46 (citing Widmar, 454 U.S. at 269-270).

       Finally, Defendants assert that ISD 194 Policy 535(IV)(C)(1) makes all school

district property nonpublic fora. Answer ¶ 26. But Policy 535 doesn’t override

constitutional forum analysis. As discussed above, nonpublic fora and limited public fora

are coextensive in the Eighth Circuit. However, even if nonpublic fora and limited public

fora were recognized as applying different standards, the assertion by the School District

under Policy 535(VI)(C)(1) has no effect on the legal status of fora for First Amendment

Speech Clause analysis. A school district cannot claim that property is not a public forum,

then allow private speech there, and evade responsibility for its discrimination between


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messages it allows.

       In this case, the school district is allowing certain members of the public with certain

viewpoints to post posters on the walls of the District. This is the definition of a limited

public forum. Merely because a school restricts access to who can avail themselves of the

forum does not mean that it is a nonpublic forum. Viewpoint Neutrality Now! v. Regents of

U. of Minnesota, 516 F. Supp. 3d 904, 924 (D. Minn. 2021) (“And although a governmental

entity may restrict access to a limited public forum—after all, that's what makes a public

forum a limited public forum—those restrictions must be viewpoint-neutral and reasonable

and, most importantly for present purposes, come in the discretion of the decision-

maker.”).

       By virtue of allowing the Poster Series to be displayed, ISD 194 has opened its

hallways and classrooms to private political expression, and they are limited public fora.

                3.    ISD 194’s allowance of “Black Lives Matter” and refusal of “All
                      Lives Matter” or “Blue Lives Matter” is either content-based or
                      viewpoint discrimination.

       When the government targets not subject matter, but particular views taken
       by speakers on a subject, the violation of the First Amendment is all the more
       blatant. Viewpoint discrimination is thus an egregious form of content
       discrimination. The government must abstain from regulating speech when
       the specific motivating ideology or the opinion or perspective of the speaker
       is the rationale for the restriction.

Rosenberger v. Rector and Visitors of U. of Virginia, 515 U.S. 819, 829 (1995) (citations

omitted). Even if ISD 194’s restriction is content, as opposed to viewpoint, discrimination,

“[s]elective exclusions from a public forum may not be based on content alone, and may

not be justified by reference to content alone.” Police Dep't of City of Chicago v. Mosley,



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408 U.S. 92, 96 (1972).

       If the Court determines that ISD 194 is engaging in content-based discrimination,

then ISD 194 must show that its restriction was narrowly tailored to achieve a compelling

government interest. And viewpoint discrimination, a more egregious form of content-

based discrimination, is presumed unconstitutional. Viewpoint Neutrality Now!, 516 F.

Supp. 3d at 919.

       Here, ISD 194 has allowed the speech of some citizens on its walls, but disallowed

the speech of Plaintiffs based on what their view was on the question of “Whose Lives

Matter?” Other speakers receive the support of the District in creating, printing, and posting

material that proclaims “Black Lives Matter,” but Plaintiffs are forbidden from posting a

poster on the same subject, the same content, but a different view. This is impermissible as

viewpoint discrimination.

       There is no interest that ISD 194 could suggest which could rise to the level of

legitimate, much less compelling. Encouraging private political speech of neo-Marxist,

race-separatist political organizations is unreasonable and illegitimate. And even if the

Court were to find that such an interest were somehow legitimate, ISD 194 has used a ham-

fisted approach to its messaging by outlawing all other forms of expression not in keeping

with that private political mantra, to Plaintiffs’ detriment. ISD 194 has no compelling

interest in divisive, racist speech. Similarly, disallowing any contrary message to Black

Lives Matter is overbroad and fails to allow counterspeech to the divisive Black Lives

Matter mantra. See Rubin v. Young, 373 F. Supp. 3d 1347, 1354 (N.D. Ga. 2019) (“a total

exclusion of a free speech expression” is not narrowly drawn).


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           B. Plaintiffs Are Likely to Prevail on Their Hostile Educational
              Environment Claims.

       ISD 194 has made it abundantly clear that only its preferred speech—that which

espouses the divisive, exclusionary rhetoric of Black Lives Matter—will be recognized and

tolerated among students and staff. This has created such a hostile and divisive

environment that at least one student who strongly disagrees with the Black Lives Matter

messages that ISD 194 has allowed in its halls has been driven from the school entirely as

a direct result of the hostility the District created.

       In their memorandum, Defendants ignore the class of claims within Title VI for

Racial Harassment, as opposed to Racial Discrimination. The standard for a claim for

Racial Harassment under Title VI requires that a plaintiff claim (1) defendant is “an

educational institution receiving federal funds,” (2) plaintiff “was subjected to harassment

based on” his race, (3) “the harassment was sufficiently severe or pervasive to create a

hostile (or abusive) environment in an educational program or activity,” and (4) “there is a

basis for imputing liability to the institution.” DJ ex rel. Hughes v. Sch. Bd. of Henrico

Cty., 488 F. Supp. 3d 307, 332 (E.D. Va. 2020) (quoting Jennings v. Univ. of N.C., 482

F.3d 686, 695 (4th Cir. 2007) (per curiam)).

       Under these facts, and as to the first requirement, Defendant ISD 194 is

unquestionably an institution receiving federal funds. Compl. ¶51.

       Under the second element, a plaintiff may show he was harassed “based on” his race

by showing that he was treated differently than similarly situated students. Causey v. Balog,

162 F.3d 795, 801–02 (4th Cir. 1998) (citing Carter, 33 F.3d at 461–62). N.W. and those



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students like her, including her siblings S.W., C.W., O.W., and H.W., have been reminded

on a daily basis that they are specifically excluded and treated differently from the “Black

Lives Matter” political movement espoused by the District. It caused N.W. to see people

differently because of their skin color, which is consistent with government policy that

should have been relegated to the dustbin of history a generation ago. See Compl. ¶53.

       Under the third element, harassment is sufficiently severe or pervasive “when it

creates ‘an environment that a reasonable person would find hostile or abusive’ and that

the victim herself ‘subjectively perceive[s] ... to be abusive.’” Jennings, 482 F.3d at 696

(quoting Harris v. Forklift Sys., Inc., 510 U.S. 17, 21 (1993)). Here, N.W. perceived the

message conveyed by the posters, support for the Black Lives Matter movement, as

inextricably linked to violence, arson, riots, hostility, and racial hatred. See Compl. ¶54.

This results in a hostile or abusive environment for a reasonable person in N.W.’s nine-

year-old shoes.

       Under the fourth element, liability can be imputed to a university when “an official

who…has authority to address the alleged discrimination and to institute corrective

measures…has actual knowledge of discrimination in the [institution's] programs and fails

adequately to respond” or displays “deliberate indifference.” McCarter v. Univ. of N.

Carolina at Chapel Hill, 2021 WL 4482983, at *11 (M.D.N.C. Sept. 30, 2021). Here,

District officials not only are currently aware of the divisive nature of the political

messages in the posters, but they were also aware before the posters were approved for use

within the District. The authority to remedy the problem is plainly within the control of




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ISD 194, but their choice is indifference. Plaintiffs have alleged a clear case of racial

harassment, and they are likely to prevail on the merits.

   IV.      Monell Does Not Apply Where the District Has Formally Approved the
            Racist Language at Issue.

         ISD 194’s Monell argument is foreclosed by rules under Section 1983 law which

the Supreme Court believes “no one has ever doubted,” apparently until now:

         No one has ever doubted, for instance, that a municipality may be liable
         under § 1983 for a single decision by its properly constituted legislative
         body—whether or not that body had taken similar action in the past or
         intended to do so in the future—because even a single decision by such a
         body unquestionably constitutes an act of official government policy.

Pembaur v. City of Cincinnati, 475 U.S. 469, 480 (1986). Here, the ISD 194 Board

approved the Black Lives Matter posters, and they are continually on display due to the

actions of the Board and ISD 194’s chief executive officer—its Superintendent. E.g., Minn.

Stat. § 123B.143; ISD 194 Policy 302 (“The Superintendent shall have charge of the

administration of the schools under the direction of the Board of Education. The

Superintendent shall be the chief executive officer of the School District and an ex-officio

member of the Board of Education.”).

         There is no question that the Defendants are subject to liability for prospective relief

under Monell. The Court should reject Defendants’ frivolous argument out-of-hand.

   V.       Superintendent Baumann Is Subject to Suit in His Official Capacity Under
            Ex parte Young.

         It is also black-letter law that “[q]ualified immunity is not a defense available to

governmental entities, but only to government employees sued in their individual

capacity.” Johnson v. Outboard Marine Corp., 172 F.3d 531, 535 (8th Cir. 1999); VanHorn


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v. Oelschlager, 502 F.3d 775, 779 (8th Cir. 2007) (citing Davis v. Hall, 375 F.3d 703, 710

n.3 (8th Cir. 2004), for the premise that “neither qualified immunity nor absolute immunity

[is] available to a government employee sued in his official capacity”).

       Plaintiffs sued Superintendent Baumann in his official capacity as Superintendent,

not in his individual capacity. Compl. ¶15. Superintendent Baumann is therefore subject to

suit under the Ex parte Young exception to Eleventh Amendment immunity. Under that

exception, “a private party can sue a state officer in his official capacity to enjoin a

prospective action that would violate federal law.” 281 Care Comm. v. Arneson, 638 F.3d

621, 632 (8th Cir. 2011). School districts are arms of the state for purposes of the state

action doctrine. GME Consultants, Inc. v. Oak Grove Dev., Inc., 515 N.W.2d 74, 76 (Minn.

Ct. App. 1994) (stating that school districts “are arms of the state and are given corporate

powers solely for the exercise of public functions for educational purposes.”). The

Superintendent is the CEO of ISD 194. Minn. Stat. § 123B.143; ISD 194 Policy 302.

       Under the Ex parte Young exception, all that matters is that Superintendent

Baumann has “some connection with the enforcement of the act” in question. Id. at 632

(quoting Reprod. Health Servs. v. Nixon, 428 F.3d 1139, 1145-46 (8th Cir. 2005). Here,

Defendants admit that the Poster Series was adopted by the District and then posters were

rolled out into the District’s hallways and classrooms. Defs. Br. 4. Again, Baumann is the

Superintendent with full charge of Lakeville schools; he is the CEO of the District. He

undoubtedly has “some connection with the enforcement of the act in question.”

       There is no plausible argument that Baumann is not subject to suit under the Ex

parte Young doctrine.


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                                     CONCLUSION

       For the foregoing reasons, Plaintiffs have conclusively established a likelihood of

success on the merits of their Complaint. Accordingly, Plaintiffs respectfully request that

Defendants’ Motion for Judgment on the Pleadings be denied. Further, because Plaintiffs

have demonstrated a likelihood of success, a preliminary injunction is proper and Plaintiffs

ask the Court to issue the same forthwith.


                                                  UPPER MIDWEST LAW CENTER

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